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                        UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                        Case No. 3:11cr24/MCR

TELLY J. HILL, a/k/a “Tally,”
ERICK D. SMITH, a/k/a “Tator,”
and ISMAEL A. RODRIGUES,

     Defendants.
__________________________/

                          ORDER ON MOTION TO SUPPRESS
       Pending before the court is a motion to suppress evidence seized during the
execution of a search warrant, filed by Defendant Telly J. Hill (“Hill”). (Doc. 19.) The court
has determined that no evidentiary hearing is necessary and that the motion is due to be
denied for the following reasons.
Background
       The second superseding indictment (doc. 54) charges Hill with conspiracy to
distribute and possess with intent to distribute cocaine and cocaine base (“crack”) from
May 1, 2009, through the date of the indictment, in violation of 21 U.S.C. § 841(b)(1)(A)(ii)
& (iii) and § 846; and using a firearm during and in relation to a drug trafficking crime and
in furtherance of the conspiracy, in violation of 18 U.S.C. § 924(c)(1)(A)(i) & (iii), and § 2.
The charges were based on an investigation into Hill’s alleged drug distribution
organization undertaken by the Pensacola Police Department, the Escambia County
Sheriff’s Office, and the Bureau of Alcohol, Tobacco, Firearms and Explosives during 2010.
       On November 19, 2010, Pensacola Police Department Detective Matthew
Coverdale, who had been a detective for six years with special training regarding the

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investigation of crimes involving the sale of narcotics, applied for a state warrant to search
4201 Jean Street in Escambia County, Florida. Detective Coverdale attested to the
following facts in his affidavit. From September through November 2010, he met with a
confidential informant (“CI”), who represented he/she could purchase crack cocaine from
a subject the CI knew as “Tally,” a black male with “dreads” who had recently moved from
a residence at C Street and Jackson Street. Through this information and the CI’s physical
description of Tally, Detective Coverdale suspected that Tally was Defendant Hill, and this
was confirmed when the CI positively identified Hill from a police photograph. Detective
Coverdale knew that previously, Hill’s residence had been leased under his girlfriend’s
name, Yolanda Ann King.         In his experience as a narcotics investigator, Detective
Coverdale was aware that narcotics dealers often attempt to obscure their place of
residence from law enforcement by using the name of another as the resident of record,
as Hill had done before. Coverdale discovered that Hill’s girlfriend then lived at 4201 Jean
Street, and for ten days in November 2010, law enforcement conducted surveillance at the
residence. During this ten-day period, they observed Hill at the residence on several
occasions. Many times, law enforcement officers observed Hill exiting the residence and
traveling to residences and hotels where he would remain for less than five minutes before
returning to the residence. Coverdale stated in his affidavit that, in his experience, this type
of activity is indicative of narcotics sales.
       During the ten-day surveillance of 4201 Jean Street, the CI arranged to purchase
crack cocaine from Hill. Law enforcement ensured that the CI had no money or drugs in
his/her possession prior to the controlled buy. Law enforcement provided the CI with a
listening device and recorded police money prior to the buy. While under constant and
uninterrupted surveillance, the CI placed a controlled telephone call to Hill, requested to
purchase an amount of crack, and arranged to meet Hill at a specified location.
Immediately after the call, law enforcement observed Hill exit the residence at 4201 Jean
Street and travel directly to the arranged meeting location. Hill made contact with the CI
as planned, and the CI purchased an amount of crack from Hill in exchange for the
recorded police money. The affidavit states that law enforcement conducted constant and

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uninterrupted surveillance throughout the transaction. The affidavit also listed Hill’s
criminal history, which included a prior conviction in 2009 for selling cocaine and
possession of marijuana and another case involving drug possession and drug equipment
marked “adjudication withheld/no action taken.” (Doc. 19-1, at 4.)
       The state circuit court judge found probable cause to issue a search warrant for the
residence at 4201 Jean Street on the basis of Detective Coverdale’s affidavit. The search
warrant was executed on or about November 24, 2010, at 4201 Jean Street. Hill was
located inside the residence hiding underneath a bed. Law enforcement seized crack
cocaine, a large amount of United States currency, and drug manufacturing and distributing
paraphernalia. Hill was advised of his rights and made the following admissions: (1) all the
crack was his; (2) the money was drug proceeds; (3) his source of supply was Erik Smith;
(4) Smith obtained the cocaine from Mexicans in Foley, Alabama; (5) he and Smith had
been involved with well over five kilograms of cocaine; and (6) Hill had previously
possessed a .380 caliber handgun to protect the drugs and the drug proceeds. Hill asserts
that the warrant was not supported by probable cause, and he moves to suppress all
physical evidence seized as well as statements he made as “fruit of the poisonous tree”
(doc. 19). See Wong Sun v. United States, 371 U.S. 471, 488 (1963). The Government
opposes the motion (doc. 22).
Discussion
       The Fourth Amendment protects “[t]he right of the people to be secure in their
persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S.
Const. amend. IV. For a search warrant to be valid under Fourth Amendment principles,
it must be supported by probable cause, which means that there is a “fair probability that
contraband or evidence of a crime will be found in a particular place.” United States v.
Tate, 586 F.3d 936, 942-43 (11th Cir. 2009) (internal marks omitted), cert. denied, 131
S. Ct. 634 (2010). As the term implies, “probable cause” deals with probabilities and
practical considerations, not technical precision. Illinois v. Gates, 462 U.S. 213, 231
(1983). Courts view the determination of probable cause by considering the totality of the
circumstances through “the practical considerations of everyday life on which reasonable

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and prudent men, not legal technicians, act.”         Id.     This practical, common-sense
determination requires the issuing magistrate to consider the affidavit “in light of all the
circumstances set forth,” “including the ‘veracity’ and ‘basis of knowledge’ of persons
supplying hearsay information.” Id. at 238. The search warrant affidavit must contain
“facts sufficient to justify a conclusion that evidence or contraband will probably be found
at the premises to be searched.” United States v. Martin, 297 F.3d 1308, 1314 (11th Cir.
2002). The contents of the affidavit are evaluated to determine whether there is a
connection between the defendant and the residence to be searched, as well as a link
between the residence and the suspected criminal activity. See id. Furthermore, “a
presumption of validity” attaches to an affidavit supporting a search warrant. Franks v.
Delaware, 438 U.S. 154, 171 (1978).
       Supreme Court precedent has established an exclusionary rule forbidding the use
at trial of evidence obtained in violation of the Fourth Amendment in certain circumstances.
See Herring v. United States, 555 U.S. 135, 129 S. Ct. 695, 699 (2009); see also Martin,
297 F.3d at 1312 (“Evidence seized as a result of an illegal search may not be used by the
government in a subsequent criminal prosecution.”). However, there exists a good faith
exception to the exclusionary rule. See United States v. Leon, 468 U.S. 897, 922 (1984).
Under the Leon good faith exception, “courts generally should not render inadmissible
evidence obtained by police officers acting in reasonable reliance upon a search warrant
that is ultimately found to be unsupported by probable cause.” Martin, 297 F.3d at 1313.
In deciding whether the exclusionary rule applies, the court considers whether the officers
involved acted with “objective reasonableness.” Herring, 129 S. Ct. at 699-700 (citing
Leon, 468 U.S. at 923 n.24). To warrant exclusion, the officer’s conduct must not be
merely negligent, but “deliberate, reckless, or grossly negligent,” id. at 702, because the
rule operates as a judicially designed remedy “to safeguard Fourth Amendment rights
generally through its deterrent effect,” Leon, 468 U.S. at 906. In undertaking this analysis,
the court is mindful of the Supreme Court’s instruction that exclusion should be “our last
resort, not our first impulse.” Herring, 129 S. Ct. at 700.
       Hill argues that suppression is warranted because there was no nexus between the

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residence and his alleged drug dealing activity. Hill argues that this case is distinguishable
from United States v. Akel, 337 Fed. Appx. 843, 858 (11th Cir. 2009) (unpublished), in
which the court found probable cause on facts somewhat similar to this case. According
to Hill, Akel is distinguishable because the search warrant affidavit in that case included
not only surveillance but also additional facts such as “trash pulls” from the residence, in
which officers found bags with marijuana residue in the trash at the residence, and also
that the defendant returned immediately to the residence after the controlled buys in Akel.
The court concluded in Akel that these facts were sufficient from which to find the requisite
nexus between the residence and contraband. Id.
       Despite the lack of trash pulls in this case or a statement that the defendant
returned directly to the residence after the one controlled buy in this instance, the court
nonetheless finds that the affidavit is sufficient to establish probable cause. First, a nexus
was clearly established between Hill and the residence through prior investigative work and
direct observation. The affiant was aware that “Tally” was Hill; the CI identified Hill in a
police photograph; the affiant knew Hill had lived with his girlfriend on C Street, that the
lease was in the girlfriend’s name, and that putting someone else on the lease was
something commonly done by drug dealers to avoid police detection; the CI confirmed that
Hill had recently moved; the affiant discovered the girlfriend’s address and also confirmed
Hill’s presence by observing him coming and going from the residence on numerous
occasions during the ten-day period prior to the search warrant application. Second, the
warrant application included a sufficient link between the residence and Hill’s drug dealing
activity – law enforcement officers, aware of Hill’s criminal history, observed him coming
and going with short visits to residences or hotels, consistent with drug dealing activity, and
they observed him leave the residence just prior to delivering crack to the CI, with no stops
in between. The totality of these circumstances sufficiently raises a fair probability that Hill
was storing drugs and proceeds at the residence. See United States v. Jenkins, 901 F.2d
1075, 1080 (11th Cir.) (noting a nexus may be established from the circumstances involved
even without direct observation), cert. denied, 498 U.S. 901(1990); see also United States
v. Ellison, 632 F.3d 347, 349-50 (6th Cir. 2011) (finding probable cause where a

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confidential informant had observed participants to a drug deal coming out of or returning
to the house searched). Additionally, in making the probable cause determination, the
issuing judge was justified in considering Hill’s criminal history along with this evidence of
his recent conduct which, in the affiant’s experience, was consistent with drug dealing
activity. See United States v. Jiminez, 224 F.3d 1243, 1249 (11th Cir. 2000). The court
finds that a sufficient nexus has been established between the defendant, the residence,
and the criminal activity to support the finding of probable cause to search.
       Even assuming the affidavit were insufficient to support a finding of probable cause,
however, the court would find that the officers acted in good faith. The Government argues
that the Leon good faith exception applies because the even if the court finds probable
cause to be lacking, the officers executed the search warrant in good faith, and their
reliance on the search warrant was objectively reasonable. Hill makes no argument that
the good faith exception does not apply in this case, and the court’s review of the record
provides no basis for concluding that the officers did not reasonably rely on the search
warrant in executing the search. Therefore, suppression is not warranted even assuming
the affidavit did not present sufficient facts from which to conclude there was probable
cause to search. Accordingly, there is no basis for excluding either the physical evidence
seized or the defendant’s subsequent statements.
       For the foregoing reasons, it is hereby ORDERED that Defendant’s motion to
suppress evidence seized through a search of his residence (doc. 19) is DENIED.
       DONE AND ORDERED on this 26th day of May, 2011.




                                            s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           United States District Judge




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